Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 1 of mE 186
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Caleb L. McGillvary, Pro se S. DISTRiC
#1222665/SBI#102317G NJSP .

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Po Box 861 Trenton, NJ 08625-0861 Deputy

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TAYLOR HAZLEWOOD,
PLAINTIFF
And

CALEB L. MCGILLVARY

PKA "KAI THE HITCHHIKER"
INTERVENOR

CIVIL ACTION NO.
3:23-CV-1109-N

Vv.

NETFLIX, INC.
DEFENDANTS

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NOTICE OF MOTION TO INTERVENE (Fed. R. Civ. P. 24)

TO: CLERK, ALL CAPTIONED PARTIES

Please take notice that, on a date and time to be determined
by the Court, Intervenor-Plaintiff Caleb L. McGillvary
("Intervenor-Plaintiff") hereby moves the Court for an order
adding him as an Intervenor-Plaintiff to this matter.

As grounds for this motion, Intervenor-Plaintiff relies
upon his attached declaration in support

A proposed form of order is lodged herewith

pate: C/9/14 [D>

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Caleb L. McGillvary, Pro Se
#1222665/SBI#102317G NJSP
PO Box 861 Trenton, NJ
08625-0861

Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 2of21 PagelD 187

Caleb L. McGillvary, Pro se
#1222665/SBI#102317G NJSP
Po Box 861 Trenton, NJ 08625-0861

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TAYLOR HAZLEWOOD,
PLAINTIFF
And

CALEB L. MCGILLVARY

PKA "KAI THE HITCHHIKER"

CIVIL ACTION NO.
3:23-CV-1109-N

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INTERVENOR
V.
NETFLIX, INC.
DEFENDANTS
COMPLAINT IN INTERVENTION
Preliminary Statement
1.) This is a diversity action for defamation and intentional

infliction of emotional distress that arises from the same
transactions as those described in Mcgillvary v. Netflix, Inc.
et al, 2:23-cv-01195-JLS-SKx (U.S.D.C.-C.D.CA); which action
was filed first in time and thus is required by principles of
comity to be disposed of first; to prevent prejudice to the
litigants therein from collateral estoppel and issue preclusion
resulting from this case.

Jurisdiction
2.) Original jurisdiction is conferred on this Court by 28 U.S.C.
1232, the parties are fully diverse and the amount in controversy
is over $75,000. This action is believed to be brought in
District Court in the district within which Defendant corporation
is registered and conducts business. Jurisdiction over
intervenor-plaintiff?s claims also exists under 28 U.S.C. 1367
because subject matter jurisdiction over plaintiff?s claims
has already been established.

Parties

3.) Intervenor-plaintiff Caleb L. McGillvary
("Intervenor-Plaintiff") is an individual. Intervenor-plaintiff
1s domiciled and resides at 3rd and Federal Sts. Trenton, NJ
08625-0861
4.) Plaintiff Taylor Hazlewood ("Plaintiff") is an individual
believed to be a citizen of Kentucky, whose citizenship and

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address are adopted by reference here from his initial complaint
pursuant to Rule 10(c)
5.) Defendant Netflix, Inc. ("Defendant" or "Netflix"), is a
Delaware Corporation with its principal place of business at
LOO Winchester Circle Los Gatos, California 95032

Factual Allegations
6.) Intervenor-Plaintiff Caleb L. McGillvary
("Intervenor-Plaintiff") relies upon the Court Record of People
v McBride No. F13901235 in the California Superior Court of
Fresno County; and of People v McBride No. F068949 in the Court
of Appeal of California, 5th Appellate District; and incorporates
same by reference herein. Specifically, Intervenor-Plaintiff
makes reference to the following facts adduced at trial:
a.) Nelson Pereira ("Nelson"), Kenneth Simon ("Kenneth"), and
Nicholas Starkey ("Nicholas"); all eyewitnesses to the events
of February 1, 2013 at the intersection of Marks and McKinley
in Fresno, California ("The incident"); each testified under
oath that they could see into Jett Simmons McBride ("McBride")"s
car leading up to and including the incident. They each saw
that, immediately before McBride intentionally crashed his car
into a crowd of power line workers, McBride had both his hands
on the steering wheel; and that Intervenor-Plaintiff had his
hands in front of himself in his lap. Neither McBride nor
Intervenor-Plaintiff were communicating with each other, and
Intervenor-Plaintiff was completely in the passenger compartment
of the car, with no part of himself in the driver"s compartment.
b.) Kenneth, Nicholas, and two other eyewitnesses to the
incident; Ginger Miller-Barraza ("Ginger") and Tonya Baker
("Tonya"); each testified under oath that they observed McBride"s
conduct immediately after the collision but before
Intervenor-Plaintiff smashed him in the head with a hatchet.
They stated that McBride was continuing his assault on Rayshawn
Neely ("Rayshawn"): yelling that he was "sent to take [Rayshawn]
home; that "I am God. I am Jesus. I was sent here to take all
the niggers to heaven"; that "all niggers need to die"; "death
to all niggers"; and "I will kill you all."
c.) Nelson, Nicholas, Ginger, and Tonya each testified under
oath that, subsequent to McBride"s expression of deadly intent
in "6.)b.)"; McBride grabbed Tonya in a "bear hug" and was
escalating force against her rapidly. Intervenor-Plaintiff loudly
warned McBride 3 times to release Tonya. McBride yelled, "I"ll
kill you all"; then Intervenor-Plaintiff used his camping hatchet
with force 3 times on McBride"s head in defense of Tonya
d.) Fresno County Sheriff"s Officer Lyman testified under oath
that, when officers arrived on the scene, McBride yelled "I
did it! Get off of me! I"1l kill you all!"
e.) Laboratory analysis of the marijuana smoked by
Intervenor-Plaintiff and McBride prior to the incident revealed
that there was "no substance in the plant material other than
the active ingredient in marijuana."
f.) Blood was drawn from McBride at the hospital immediately
after the incident. Tests on the blood were negative for every
drug except for marijuana.
g-) McBride admitted to Jeff Stricker ("Stricker") that he "did

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it"; and when Stricker asked McBride whether he hit the truck
on purpose and tried to kill Rayshawn, McBride responded in
the affirmative, and explained that he did so because Rayshawn
was Illuminati, and expressed remorse

h.) McBride admitted during his sworn testimony that he told
Stricker that he "hit the truck on purpose and tried to kill
Rayshawn." He denied doing it because Rayshawn was black, but

agreed he did it because Rayshawn was Illuminati. He confessed
to having Tlluminati delusions long before having met
Intervenor-Plaintiff.

i.) Intervenor-Plaintiff was found by law enforcement at the
scene to have used justified force in defense of others; was
cleared of any wrongdoing in the incident; and was released
without any charges or reprimands.

7.) On January 10, 2023, Defendant Netflix, Inc. ("Netflix")
published a motion picture work called "The Hatchet Wielding
Hitchhiker" ("THWH") on https://www.netflix.com, a website

owned and operated by Netflix.
COUNT ONE: DEFAMATION

8.) In THWH described in "7", Netflix published provably false
statements of fact about Intervenor-Plaintiff. To wit: Netflix
republished the statement "Is he a guardian angel, or a stone

cold killer"; which was reasonably understood by viewers thereof
to imply that Intervenor-Plaintiff was culpable of being a "stone
cold killer" during the events of February 1, 2013 described
in "6" for which he was heralded as a "guardian angel." These
statements were published through https://www.netflix.com to
millions of third parties who accessed THWH online. Website,
social media, and YouTube comments from viewers of THWH show
that said statements were reasonably understood to imply the
defamatory provably false statements of fact heretofore
described. The implications Netflix published and republished
of such defamatory statements were with knowledge of their
falsity or a reckless disregard of the truth. These published
and republished defamatory and false light statements
wrongfully exposed Intervenor-Plaintiff to hatred, contempt,
ridicule, or obloquy; thereby causing Intervenor-Plaintiff
emotional distress and mental anguish by the egregious and
outrageous conduct of false attributions of criminal conduct
in the incident on February 1, 2013 and publicly shaming
Intervenor-Plaintiff for something he didn"t do and accusing
him of criminal acts he didn"t commit; and which defamation
caused him to be shunned or avoided, or had a tendency to injure
him in his occupation as a performing artist: and which resulted
in damages proximately caused thereby from said defamation to
Intervenor-Plaintiff"s copyrights value, value of unregistered

marks in commerce, right of publicity, and in loss of business
opportunities and payments for services: due to the false
statement of fact alleging criminal conduct by

Intervenor-Plaintiff in the incident in Fresno, CA on February
ly 2013; the truth of which in "6" is the basis upon which
Intervenor-Plaintiff is widely known and sought after for
partnership, endorsement and licensing fees, and payments for
services, because everyone loves and wants to deal with a hero
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who saved peoples" lives. Netflix knew the falsity of its
defamatory statements, or had a reckless disregard for the truth
thereof, at the time the statements were made.

9.) Intervenor-Plaintiff's reputation for saving people's lives
in the incident described in "6" was still strong at the time
of the publishing of THWH, with over 20,000 followers on his
Facebook page, over 6,000 subscribers on his YouTube channel,
and over 10,000 subscribers on his TI kTOk Account.
Intervenor-Plaintiff also has had numerous licensing offers
for his endorsement and for use of his copyrighted works in
the years since the February 1, 2013 incident, including:

a.) In February of 2013, Intervenor-Plaintiff granted "The
Gregory Bros." a quality-controlled license to use his name,
voice, and likeness to market their auto-tuned song on YouTube

and iTunes; at which point the Intervenor-Plaintiff agreed to
visit and inspect the site of production. In April of 2013,
at the soonest practicable time pursuant to this agreement,
Intervenor-Plaintiff inspected the site of production in
Williamsburg, NY; and ascertained that the product was
manufactured with superb quality. Intervenor-Plaintiff routinely
inspects the product on YouTube and iTunes, only to discover
that its original excellent quality remains unchanged.
Intervenor-Plaintiff has received and continues to receive
licensing fees from the use of his marks; since the moment of
initial production to the present; and will continue to do so
for the foreseeable future. This has benefitted
Intervenor-Plaintiff approximately $14,000 so far. This remix
has continued to be sold at an amazing rate even over a decade
later, although THWH has diminished the sales because of its
slanderous statements which cut to the strength of
Intervenor-Plaintiff's marks, marketability of his persona,
and value of his copyrighted works.

b.) In October of 2018, Intervenor-Plaintiff entered into
a quality-controlled license of his name, voice, and likeness
and marks with "Wavy Web Surf"; to market his YouTube channel.
In lieu of inspecting the site of production, due to
impossibility because of Intervenor-Plaintiff"s incarceration,
Intervenor-Plaintiff inspected the script of the video and
approved it for production. In consideration of this, Wavy Web
Surf paid Intervenor-Plaintiff the sum of $2,700 and included

advertisement OL: a link to Intervenor-Plaintiff"s token
crowdfunding platform; which raised approximately $11,300
therefrom to date. Intervenor-Plaintiff has not received any
offers for licensing of his marks, celebrity endorsement or

copyright protected works since THWH's publication, because
of its slanderous statements which cut to the strength of
Intervenor-Plaintiff's marks, marketability of his persona,
and value of his copyrighted works.

c.) Intervenor-Plaintiff has licensed his endorsement to
the fundraisers "Go Fund Me" and "Go Get Funding" for two
separate fundraisers, one of which running from approximately
May of 2013-April of 2016, another which ran from approximately
August of 2016 - January of 2020; each of which has raised over
$10,000 based solely on the strength of Intervenor-Plaintiff's

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persona and strength of his marks.

Intervenor-Plaintiff therefore pleads special damages in loss
to his reputation, persona, and related property rights accruing
to him under Cal. Civ. Code 3344 and common law; and to the
strength of his marks "Smash, Smash, SUH-MASH!", "Kai the
Hatchet-Wielding Hitchhiker", and celebrity endorsement accruing
to him under 15 U.S.C. 1125; because of the slanderous
statements, which diminished the value of the property rights
created by those statutes; each of which rights are distinct
and encapsulate rights to revenue from endorsements as shown

by "a", "pb" and "c" herein pleaded as being worth $14,000 each
video, and over "$10,000" in print, even years after the incident
described in "6". This damage to his property interest exists

separate from any business interest therein, but in the overall
value of the property right created by these statutes.
Additionally, Intervenor-Plaintiff pleads special damages in
loss to the value of his property interests created by 17 U.S.C.
106, 201 in his copyright protected works, the value of which
was diminished by the slanderous statements:

d.) "Dark Knight of The Soul" Copyright Registration Number
PA 2-399-437

€;) "Unmentionable" Copyright Registration Number PA
2-399-439

f.) "This was never a rape trial" Copyright Registration
Number PA 2-398-911

g.) "Kai's Magic Muscles" Copyright Registration Number
PA 2-398-909

h.) "Smash, Smash, SUH-MASH!" Copyright Registration Number
PA 2-398-110

1.) "Smash, Smash, SUH-MASH!" Copyright Registration Number
PA 2-398-664

J.) "Movement" Copyright Registration Number PA 2-396-377

k.) "Movement" Copyright Registration Number SR 953-342

This damage to property interests exists separate from any
business interests therein, but in the overall value of the
property right created by these statutes.

Intervenor-Plaintiff avers that the total diminishment in value
of his property rights created by these statutes proximately
caused by Netflix' slander would amount to at least $75,000
in the lifetime aggregate value which the defamation caused
a loss to.

10.) The above slanderous statement contained in THWH story
is and was false, untrue, and defamatory, and THWH is slanderous
on its face because:

a,) THWH wrongfully accuses Intervenor-Plaintiff, and was
intended to wrongfully accuse Intervenor-Plaintiff, of actions
and statements that are false, defamatory, and damaging.

b.) THWH clearly and wrongfully exposes Intervenor-Plaintiff
to hatred, contempt, ridicule, and obloquy because it falsely
accuses and depicts Intervenor-Plaintiff, among other things,
as someone who behaved in a heinous and criminal manner during
the February 1, 2013 incident, who "is a stone cold killer"
for the acts described in "6"

11.) Netflix knew THWH as it applies to Intervenor-Plaintiff

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to be false, and that THWH was intended by Netflix to convey
false or defamatory statements about Intervenor-Plaintiff.

12.) Netflix wrote, filmed, published and broadcasted, or caused
to be wrote, filmed, published and broadcasted, the slanderous
statements concerning Intervenor-Plaintiff either with knowledge
of the falsity of the statements or with reckless disregard
for their truth.

13.) The statements appearing in THWH were so understood by
those who read and heard the statements in THWH to have the
defamatory meaning ascribed to it in this complaint, and Netflix
intended THWH to be so understood and read by subscribers of
Netflix and viewers of THWH.

14.) At the time THWH was publicly distributed throughout the
United States and the World, Netflix were in possession of
evidence that would raise serious doubt about the truth of the
statements made in THWH. Nevertheless, Netflix without due regard
for the truth, falsity, or malicious nature of the statements,
formulated, published, and continues to disseminate THWH.

15.) At the time THWH was publicly distributed throughout the
United States and the world, Netflix failed to sufficiently
investigate the truth of their statements. Thus, Netflix, lacked
any substantial reason to believe in the truth of the allegations
contained in THWH.

16.) THWH was wrote, filmed, published and broadcasted with
reckless disregard for the truth of the matter, and Netflix
knew at the time the statements were formulated that they were
false and injurious to Intervenor-Plaintiff. THWH was intended
by Netflix, to directly injure the Intervenor-Plaintiff with
respect to the Intervenor-Plaintiffs reputation, character,
and business.

17.) Netflix, were also negligent in publishing THWH. With
ordinary and reasonable care, Netflix would have realized, or
could have discovered, that THWH was obviously false and grossly
slanderous, offensive, and damaging to Intervenor-Plaintiff.

18.) As a legal result of THWH and the false statements,
Intervenor-Plaintiff has suffered loss of reputation, shame,
and mortification, all to his general damage in a sum to be
proved at trial, but in a sum not less than $1,000,000.

19.) The defamatory statements contained in THWH were not
privileged in any manner. The statements were intended by
Netflix, to directly injure Intervenor-Plaintiff with respect
to his reputation, character, and business.

20.) As a legal result of THWH, Intervenor-Plaintiff has suffered
severe emotional distress, all to Netflix his general damage,
in a sum not less than $1,000,000.

21.) As a legal result of the intentional and malicious conduct
of Netflix MIntervenor-Plaintiff has suffered damage to Netflix
his property, business, trade, profession, and occupation, all

to the Intervenor-Plaintiffs special damage in a sum to be
determined at time of trial.

22.) By engaging in the misconduct alleged above, Netflix
engaged in despicable conduct with the wilful and conscious
disregard for the rights of Intervenor-Plaintiff. Netflix were
aware of the probable dangerous consequences of their misconduct

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and wilfully and deliberately failed to avoid those consequences,
including subjecting Intervenor-Plaintiff to cruel and unjust
hardship, in conscious disregard of Intervenor-Plaintiffs rights.
Thus, an award of exemplary and punitive damages is justified.

COUNT TWO: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
23.) Intervenor-Plaintiff repleads "8"-"22" as stating, when
liberally construed, a claim for intentional infliction of
emotional distress, and incorporates them by reference.
24.) Netflix knew and was aware of Plaintiff's mental health
condition of Post-Traumatic Stress Disorder ("PTSD") Prior to
writing, filming, publishing, and broadcasting THWH.
25.) Netflix conduct in writing, filming, publishing, and
broadcasting THWH was intentional and malicious and done for
the purpose of causing Intervenor-Plaintiff to suffer humiliation
and mental anguish and thereby triggering his PTSD. Netflix
conduct in confirming and ratifying these acts was done with
knowledge that Intervenor-Plaintiff would suffer emotional
distress and was done with a wanton and reckless disregard of
the consequences to the Intervenor-Plaintiff.
26.) THWH clearly exposed Intervenor-Plaintiff to hatred,
contempt, ridicule, and obloquy, because it falsely depicted
Intervenor-Plaintiff as someone who behaved in a heinous and
criminal manner during the February 1, 2013 incident, as someone
who intentionally laced a joint and thereby induced a psychotic
break resulting in commission of assault and attempted murder;
knowing the falsehood of such depiction at the time it was made.
27.) As a direct and proximate result of Netflix scandalous
and outrageous acts, Intervenor-Plaintiff has suffered
humiliation, mental anguish, and emotional distress, all to
Intervenor-Plaintiffs damage in an amount not less- that
$1,000,000.
28.) Netflix acts in formulating, publishing, and disseminating
THWH on https://www.netflix.com were done with the knowledge
by Netflix that these acts would cause Intervenor-Plaintiff
to suffer great humiliation, mental anguish, and injury. Netflix
acts were, therefore, despicable conduct and so willful, wanton,
intentionally and actually malicious and oppressive as to justify
the award of exemplary and punitive damages.

Punitive Damages

29.) Intervenor-Plaintiff repleads "8"-"28" as showing that
Netflix engaged in knowing and intentional tortious actuated
by constitutional malice with slander and slander designed to
trigger Intervenor-Plaintiff"s PTSD. Netflix's conduct against
Intervenor-Plaintiff was for their own pecuniary gain at the
expense of Intervenor-Plaintiff"s reputation and
property-interests. Intervenor-Plaintiff asks therefore for
punitive damages against Netflix for the sake of example
deterring others; and by way of punishing Netflix for their
own malicious conduct in doing so. To this end,
Intervenor-Plaintiff requests punitive damages in the amount
of 5 times compensatory, general, and special damages to reflect
the egregious and outrageous severity of falsely accusing someone
of criminal conduct in a nationally syndicated publication,
to which the public should be able to turn to for fact-checked

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reporting.
PRAYER FOR RELIEF
WHEREFORE Intervenor-Plaintiff respectfully prays that
this Court enter judgment:

30.) Granting Intervenor-Plaintiff a declaration that the acts
of Netflix described herein are unlawful and tortious;
31.) A preliminary and permanent injunction ordering Netflix

to retract THWH described in "7" from broadcast on all platforms
within their custody or control; and to publish a correction
and retraction of the slanderous statements with the truth of
the matter as described above, on all platforms within their
custody or control;
32.) Granting Intervenor-Plaintiff general damages, restitution
and/or $1,000,000 in compensatory damages against Netflix for
the emotional distress and mental anguish he suffered as a result
of his PTSD being triggered by Netflix's slander; and special
damages as described in "9"; for the defamation in "8"-"22";
33.) Granting Intervenor-Plaintiff general damages, restitution
and/or $1,000,000 in compensatory damages against Netflix for
the emotional distress and mental anguish he suffered as a result
of his PTSD being triggered by Netflix slander; and special
damages as described in "9"; for the intentional infliction
of emotional distress in "23"-"28";
34.) Intervenor-Plaintiff also seeks punitive damages in the
amount of five times compensatory, general, and special damages;
35.) Intervenor-Plaintiff also seeks nominal damages of $1
36.) Intervenor-Plaintiff also asks for any other relief this
court deems just, proper, and equitable.
I declare under penalty of perjury pursuant to 28 U.S.C.
1746 that the foregoing statements are true and accurate to
the best of my knowledge and belief. .
Executed this Day of FEAR n 20 ly
ee Submitted,
Caleb L. McGillvary, Pro se
#1222665/SBI#102317G NJSP
Po Box 861 Trenton, NJ 08625-0861

Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 10of 21 PagelD 195

Caleb L. McGillvary, Pro se
#1222665/SBI#102317G NJSP
Po Box 861 Trenton, NJ 08625-0861

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TAYLOR HAZLEWOOD,
PLAINTIFF
And

CALEB L. MCGILLVARY

PKA "KAI THE HITCHHIKER"
INTERVENOR

CIVIL ACTION NO.
3:23-CV-1109-N

V.

NETFLIX, INC.
DEFENDANTS

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ORDER GRANTING INTERVENTION

The motion of Caleb L. McGillvary to intervene as a
plaintiff in this action was submitted for decision on

[date]. The court has reviewed the papers

submitted and considered the argument of counsel and _ the
authorities cited. After due consideration, the court is
convinced that the application to intervene is timely and that
[Alternative One. Intervenors interest justifies

intervention as of right]

Caleb L. McGillvary has an interest in the subject of this action
and is so situated that the disposition of the action may impair
or impede his ability to protect that interest. No party to

this action adequately represents this interest of Caleb L.

McGillvary.
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[Alternative Two. Common questions of law or fact

justify permissive intervention]

there are sufficient common questions of law or fact presented
by the claims of the intervenor that permissive intervention
would serve the interests of judicial economy, and the existing
parties would not be unduly prejudiced by Caleb L. McGillvarys
intervention in this matter.

Therefore, IT IS on this Day of a 20 ORDERED

that:

1. The motion to intervene is GRANTED;

2. Caleb L. McGillvary is made a party plaintiff to this action;
3. The proposed complaint of Caleb L. McGillvary is deemed filed
and served as of the date that this Order is signed;

4. The defendant[s] must respond to the complaint of Caleb L.

McGillvary no later than [date]. [Optional:

Defendant[s] may respond by filing and serving a notice adopting
the previously-filed pleadings in this matter. ]

Dated:

Hon. David C. Godbey, U.S.D.J.
Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 12of21 PagelD 197

Caleb L. McGillvary, Pro se
#1222665/SBI#102317G NJSP
Po Box 861 Trenton, NJ 08625-0861

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TAYLOR HAZLEWOOD,
PLAINTIFF
And

CALEB L. MCGILLVARY

PKA "KAI THE HITCHHIKER"
INTERVENOR

CIVIL ACTION NO.
3:23-CV-1109-N

NETFLIX, INC.

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DEFENDANTS
MOTION TO INTERVENE
(Fed. R. Civ. P. 24)
Relief Sought
Caleb L. McGillvary ("Intervenor") moves this court for

an order permitting him to intervene as a plaintiff in this
action as a matter of right under Rule 24(a)(2) of the Federal
Rules of Civil Procedure or, in the alternative, allowing
Intervenor permissive intervention as a plaintiff in this matter
under Rule 24(b) of the Federal Rules of Civil Procedure.

Claims to Be Asserted

By intervening in this action, Intervenor seeks to assert
the claims set out in the attached Complaint in Intervention

Grounds for Intervention
Intervention as of Right
Intervenor adopts by reference his declaration in support
of this motion, and avers that it shows he is entitled to

intervene in this action as a matter of right because:

1. This motion is timely, coming as soon as reasonably possible
after the decision in this case was published to LEXIS and was
Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 13o0f 21 PagelD 198

thereafter discovered through notice to Plaintiff at 2023 U.S.
Dist LEXIS 183463 (N.D.TX October 11, 2023). See Sommers v Bank
of America 835 F.3d 509, 512-13 (CAS 2016) (Motion to intervene
must be timely).

2. Intervenor has a legally protectable interest in the subject
matter of this action. This action concerns defamtion and
intentional infliction of emotional distress claims against
Netflix, Inc. for the publishing of a motion picture work
entitled "The Hatchet Wielding Hitchhiker" ("THWH"). Intervenor
has a direct, protectable interest in this action because he
has filed a suit first in time concerning the same transactions
involved in this suit, in the Central District of California
at Docket Number 2:23-cv-01195-JLS-Sk; and disposition of the
claims and determinations of factual issues involved in this
suit could have preclusive effect on the first-in-time action.
See Collegiate Licensing Co. V American Cas. Co. of Reading
713° F.3d 71, 78 (CA11 2013) (The first-filed rule provides that
when parties have instituted competing or parallel litigation
in seperate courts, the Court initially seized of the controversy
should hear the case). Additionally, insofar as this case makes
findings of fact of Plaintiff being a "criminal"; the proceeding
from which the conviction relied upon resulted was
consitutionally infirm, and the State Court decision was void
and not entitled to full faith and credit. See Kremer v Chemical
Construction Corp. 456 U.S. 461, 481 (1982) (Validity requires
that rendering court proceeding provided due process of law
under Fourteenth Amendment; no court may give effect to
constitutionally infirm judgment). The conviction has been
challenged in a pending 28 U.S.C. 2254 petition, which raises
14th Amendment violations, in the District of New Jersey at
Docket Number 1:22-cv-04185-CPO. The habeas case has been pending
since June 22, 2022, and is required by statute to be decided
prior to disposition of any factual determinations regarding
criminality of Intervenor in this case. See 28 U.S.C.
le57(a) (Mandating that habeas petitions be decided ahead of
ordinary civil cases); See also Texas v United States 805 F.3d
653, 657 (CAS 2015) (Intervenor must have a legal interest in
the matter).

3.  Interveonr's interests in the actions will be substantially
impaired or impeded if he is not allowed to intervene. In
particular, any findings of reputational harm from association

with Plaintiff could have a collateral estoppel effect on his
ability to recover damages for the much sought-after use of
his marks and persona in his right of publicity at issue as
special damages in the Central District of California defamation
case. Additionally, factual and legal determinations in this
case may have issue or claim preclusive effect on the first-filed
case, which cuts against an overriding interest in comity amongst
the federal courts and impairs or impedes Intervenor's interest
in having his issues and claims decided first under the
first-filed rule. See Heaton v Monogram 297 F.3d 416, 422 (CAS
2002) (Intervenor must plausibly allege that disposition of the

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mater in his interest would impede his legal interest embodied
by the dispute).

4. The existing parties in this action do not adequately
represent Intervenor's interest in the action because the
defendant has a conflict of interest with Intervenor, and the
Plaintiff has stated conclusions adverse to Plaintiff's interests
in his complaint. Intervenor is informed and believes that
Plaintiff is pursuing a line of argument that portrays Plaintiff
in an adverse way to Plaintiff's interests in the Central
District of California case, and the Defendant will be doing
likewise. Ibid.

Permissive Intervention

In the alternative, if Intervenor's motion for intervention
as of right is denied, Intervenor adopts by reference his
declaration in support of this motion and avers that it shows
that he should be allowed permissive intervention in this action
because:

1. The claims that Intervenor desires to assert in this action
if permitted to intervene, share common questions of fact and
law. Specifically, this action concerns defamtion and intentional
infliction of emotional distress claims arising from the same
set of transactions, to wit: the publishing of THWH. The
questions posed by the claims added by Intervenor are
sufficiently common to justify intervention because they arise
from the same transactions and ought in fairness to be considered
together; and because the first-filed rule demands as a matter
of comity that Intervenor's claims be decided first.

2. Judicial economy will be served by allowing intervention
because all of the evidence on defamation and Defendant's failure
to exercise due diligence or action with malice in publishing
the false and defamatory statements is common to both the
defenses asserted by the Plaintiff and the proposed
Plaintiff-in-intervention. A separate action between the
plaintiff and defendant, and the proposed
plaintiff-in-intervention concerning the same claims resulting
from the same transaction would be duplicative and wasteful.
In contrast, adding this issue to the current suit would not
substantially delay the trial or the plaintiffs ultimate
judgment, because the factual issues are identical, and only
the legal rights that flow from the facts are disputed.

Grounds for Granting of Motion
In addition to the grounds for intervention discussed above,
Intervenor adopts by reference his declaration in support of
this motion and avers that it shows that the court should grant

this motion to intervene because:

1. The motion for intervention was timely made. The motion was
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made as soon as LEXIS CD Client was updated at the NJ State
Prison law library for the first subsequent time since this
Court issued the decision published at 2023 U.S. Dist LEXIS
183463 (N.D. TX Oct. 11, 2023)

2. This court has subject matter jurisdiction over all of the
claims proposed to be added by Intervenor because original
jurisdiction is conferred on this Court by 28 U.S.C. 1332, since
the parties are fully diverse and the amount in controversy
is over $75,000. Jusrisdiction over Intervenor-Plaintiff's claims
also exists under 28 U.S.C. 1367 because subject matter
jurisdiction over Plaintiff's claims has already been established
and Intervenor-Plaintiff's claims relate back to the initial
complaint filed by Plaintiff.

3. Intervenor has attached his proposed Complaint In Intervention
to this Motion, as required by Rule 24(c) of the Federal Rules
of Civil Procedure.

Record on Motion

This Motion is based on this document, the Notice of Motion,
the Certificate of Service, the supporting Declaration of Caleb

L. McGillvary, and the proposed Complaint In Intervention filed
herewith, on all of the papers and records on file in this
action, and on whatever evidence and argument may be allowed

at the hearing on this motion.

care 2/9/14 KO?

Caleb L. McGillvary, Pro Se
#1222665/SBI#102317G NJSP
PO Box 861 Trenton, NJ
08625-0861

Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 16of21 PagelD 201

Caleb L. McGillvary, Pro se
#1222665/SBI#102317G NJSP
Po Box 861 Trenton, NJ 08625-0861

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TAYLOR HAZLEWOOD,
PLAINTIFF
And

CALEB L. MCGILLVARY

PKA "KAT THE HITCHHIKER"
INTERVENOR

CIVIL ACTION NO.
3:23-CV-1109-N

V.

NETFLIX, INC.
DEFENDANTS

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DECLARATION IN SUPPORT OF MOTION TO INTERVENE
(Fed. R. Civ. P. 24)

I, Caleb Tavs McGillvary ("Intervenor-Plaintiff" or
"Intervenor"), hereby declare pursuant to 28 U.S.C. 1746 the
following:

1.) I am the pro se intervenor-plaintiff in the
above-captioned matter.

2.) I am currently incarcerated in a maximum security prison
which has severely restricted access to research and law library
facilities. I am only permitted 5 hours at the law library once
every 6 days, during which time I may research caselaw, print
documents, or make copies of legal documents. Sometimes guys
in the messhall jump on each other's heads or stab each other
and the whole place gets locked down, which means that law
library gets cancelled. I have had a clean disciplinary record
for years, so any such delay is through no fault of my own.
Despite my good faith and diligent effort, these circumstances
make it so that legal research and preparation of documents
is a much slower process for me than for most people. I have
to wait until the LEXIS CD Client gets updated to discover new

cases, and the prison only updates it every quarter. The prison
had already updated LEXIS shortly before this Court's October
ll, 2023 decision; and so I was not aware of it, nor could I

have reasonably discovered it through due diligence, until very
recently.

3.)Intervenor is entitled to intervene in this action as
Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page17of21 PagelD 202

a matter of right because:

a.) This motion is timely, coming as soon as reasonably
possible after the decision in this case was published to LEXIS
and was thereafter discovered through notice to Plaintiff at
2023 U.S. Dist LEXIS 183463 (N.D.TX October 11, 2023).

b.) Intervenor has a legally protectable interest
in the subject matter of this action. This action concerns
defamtion and intentional infliction of emotional distress claims
against Netflix, Inc. for the publishing of a motion picture
work entitled "The Hatchet Wielding Hitchhiker" ("THWH").
Intervenor has a direct, protectable interest in this action
because he has filed a suit first in time concerning the same
transactions involved in this suit, in the Central District
of California at Docket Number 2:23-cv-01195-JLS-Sk; and
disposition of the claims and determinations of factual issues
involved in this suit could have preclusive effect on the
first-in-time action. Additionally, insofar as this case makes
findings of fact of Plaintiff being a "criminal"; the proceeding
from which the conviction relied upon resulted was
consitutionally infirm, and the State Court decision was void
and not entitled to full faith and credit. The conviction has
been challenged in a pending 28 U.S.C. 2254 petition, which
raises 14th Amendment violations, in the District of New Jersey
at Docket Number 1:22-cv-04185-CPO. The habeas case has been
pending since June 22, 2022, and is required by statute to be
decided prior to disposition of any factual determinations
regarding criminality of Intervenor in this case. See 28 U.S.C.
leS7(a) (Mandating that habeas petitions be decided ahead of
ordinary civil cases).

c.) Interveonr's interests in the actions will be
substantially impaired or impeded if he is not allowed to
intervene. In particular, any findings of reputational harm

from association with Plaintiff could have a collateral estoppel
effect on his ability to recover damages for the much
sought-after use of his marks and persona in his right of
publicity at issue as special damages in the Central District
of California defamation case. Additionally, factual and legal
determinations in this case may have issue or claim preclusive
effect on the first-filed case, which cuts against an overriding
interest in comity amongst the federal courts and impairs or
impedes Intervenor's interest in having his issues and claims
decided first under the first-filed rule.

d.) The existing parties in this action do not
adequately represent Intervenor's interest in the action because
the defendant has a conflict of interest with Intervenor, and
the Plaintiff has stated conclusions adverse to Plaintiff's
interests in his complaint. Intervenor is informed and believes
that Plaintiff is pursuing a line of argument that portrays
Plaintiff in an adverse way to Plaintiff's interests in the
Central District of California case, and the Defendant will
be doing likewise.

4.) Intervenor should be allowed permissive intervention
in this action because:
a.) The claims that Intervenor desires to assert in

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Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 18of 21 PagelD 203

this action if permitted to intervene, share common questions
of fact and law. Specifically, this action concerns defamtion
and intentional infliction of emotional distress claims arising
from the same set of transactions, to wit: the publishing of
THWH. The questions posed by the claims added by Intervenor
are sufficiently common to justify intervention because they
arise from the same transactions and ought in fairness to be
considered together; and because the first-filed rule demands
as a matter of comity that Intervenor's claims be decided first.

b.) Judicial economy will be served by allowing
intervention because all of the evidence on defamation and
Defendant's failure to exercise due diligence or action with

malice in publishing the false and defamatory statements is
common to both the defenses asserted by the Plaintiff and the
proposed Plaintiff-in-intervention. A separate action between
the plaintiff and defendant, and the proposed
plaintiff-in-intervention concerning the same claims resulting
from the same transaction would be duplicative and wasteful.
In contrast, adding this issue to the current suit would not
substantially delay the trial or the plaintiffs ultimate
judgment, because the factual issues are identical, and only
the legal rights that flow from the facts are disputed.

5.) For all the foregoing reasons, and for all the reasons
in my attached motion, I request in good faith that the Court
should grant my motion to intervene, and file the complaint
in intervention attached hereto as Exhibit A.

I declare under penalty of perjury that the foregoing statements
are true and accurate.

Executed this i day of Fe KAA , 20 eY .
pate: 2/9/1y " ay

Caleb L. McGillvary, Prose
#1222665/SBI#102317GNJSP
PO Box 861, Trenton, NJ08625

Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 19o0f21 PagelD 204

PROOF OF SERVICE

I, Caleb L. McGIllvary, declare pursuant to 28 U.S.C. 1746
that on today's date, I placed in the institutional mailing
system here where I'm incarcerated at NJ State Prison 3rd &
Federal Streets Trenton, NJ 08625; with First Class Postage
prepaid to be sent via USPS Mail; my notice, motion, declaration,
disclosure pursuant to Rule 7.1(a) (2), complaint in intervention,
and proposed order in support of my motion to intervene pursuant
to Rule 24; to the Clerk of the District Court at USDC-NDTX
US Courthouse 1100 Commerce Street, Rooml 1452 Dallas, Tx
75242for filing; and a copy each to Counsel for Plaintiff Angela
Buchanan at 3710 Rawlins Street, Suite 900 Dallas, TX 75219
and Counsel for Defendant Joshua J Bennett at
Campbell Center II 8150 N. Central Expressway, Suite 500
Dallas, TX 75206 for service.

I hereby invoke the prison mailbox rule.
I declare under penalty of perjury that the foregoing statements

made by me are true and accurate.
Executed this g. Day of Fue ; 2004 _

Caleb L. McGillvary, Pro Se
#1222665/SBI#102317G NJSP
PO Box 861 Trenton, NJ
08625-0861
Case 3:23-cv-01109-N Document 27 Filed 02/20/24 Page 20o0f 21 PagelD 205

Caleb L. McGillvary, Pro Se
#1222665/SBI#102317G NJSP
PO Box 861 Trenton, NJ 08625

Clerk, US Dist. Ct. - N.D. TX
Dallas Division

US Courthouse

1100 Commerce Street, Room 1452
Dallas, TX 75242

RE: Hazlewood v. Netflix, Inc.
Civil Action No. 3:23-cv-01109-DCG
Hon. David C. Godbey, U.S.D.J.

Dear Clerk;

Feciuaky 4 20. 24

Please find enclosed and file onto the docket my notice,

motion, declaration, disclosure pursuant
complaint in intervention, and proposed
my motion to intervene pursuant to Rule 24;
thereof; in the above-captioned matter.

ENCL:
CC: FILE

to Rule 7.1(a) (2),
order in support of
and proof of service

Ki egards,
Caleb L.*‘ McGillvary

In Propria Persona
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